                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

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 RUTH SMITH, Individually and as Widow                          )
 for the Use and Benefit of Herself and the                     )
 Next of Kin of RICHARD SMITH, Deceased,                        )   Case #: 3:05-00444
                                                                )   Judge Trauger
                                     Plaintiff,                 )
                                                                )
                   -against-                                    )
                                                                )
 PFIZER INC., PARKE-DAVIS,                                      )
 a division of Warner-Lambert Company                           )
 and Warner-Lambert Company LLC,                                )
 WARNER-LAMBERT COMPANY,                                        )
 WARNER-LAMBERT COMPANY LLC and                                 )
 JOHN DOE(S) 1-10,                                              )
                                                                )
                   Defendants.                                  )
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                    Qualifications of Plaintiff’s Expert, Dr. Michael Trimble


         Doctor Michael Trimble, who is a Professor Emeritus of Behavioral Neurology at

 the Institute of Neurology, in London, England, is the world’s foremost expert with

 substantial clinical experience regarding antiepileptic drug effects on mood and behavior.

 Doctor Trimble has specialized training and clinical experience regarding antiepileptic

 drugs effects on mood and behavior.              He has dedicated his long and distinguished

 medical and research career to brain-behavior relationships, with particular emphasis in

 the area of epilepsy and the effect antiepileptic drugs have on mood and behavior.

 Doctor Trimble is one of a very small number of people in the world who has a medical

 degree and expertise in neurology, psychiatry, neuropsychopharmacology, neuroimaging

 and neuroanatomy. The confluence of his specialized clinical training and research




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 experience enables Dr. Trimble to have unique insight from a neurological, psychiatric,

 neuroanatomy, neurochemistry and psychopharmacological perspective as to how

 Neurontin’s psychoactive effects in human brain negatively alter mood and behavior.

        Dr. Trimble is a prolific writer. He has authored nine books, including Biological

 Psychiatry 2nd, and the Concise Guide to Neuropsychiatry and Behavioral Neurology,

 also in its second edition. He has edited 26 medical books. Additionally, Dr. Trimble

 has edited chapters in 154 medical books, the majority of which deal with the effects of

 antiepileptic drugs on mood and behavior. Dr. Trimble has published 206 peer-reviewed

 journal article. Many of these articles are on topics directly dealing with the issues in this

 case—the effect antiepileptic drugs have on mood and behavior.

        Dr. Trimble is a Professor of Behavioral Neurology. A neurologist deals with

 brains that are physically injured. A psychiatrist deals with functional disorders of

 cerebral and neurotransmitter function. A behavioral neurologist bridges the gap between

 straight neurology and psychiatry by bringing the two disciplines together.

        Dr. Trimble was educated in the United Kingdom. His medical degrees include

 Membership of the Royal College of Physicians (MRCP – equivalent to Board Certified

 General Medicine); Membership of the Royal College of Psychiatrist (MRCPsych –

 equivalent to Board Certified Psychiatrist); Research Degree, first class honors, in

 Neuroanatomy; Master of Philosophy (MPHIL) where his post doctorate thesis was

 about the neuropharmacology of treating epilepsy using animal models to research

 seizure thresholds and drug effects on serotonin, dopamine, noradrenaline and GABA,

 (the same chemicals Neurontin affects and which lead to the negative effects on mood

 and behavior); Fellow of the Royal College of Psychiatrist (FRC Psych is the equivalent




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 of Fellow of the American Psychiatric Association), Fellow of the Royal College of

 Physicians (FRCP); and Medical Doctor (MD) in neuroimaging where he conducted

 several studies using brain imaging techniques looking at changes in human brain

 structure and function of people who have psychiatric or behavioral problems.

        Dr. Trimble is an Emeritus Professor in Behavioural Neurology and Consultant

 Physician to the department of psychological medicine, Institute of Neurology and the

 National Hospital for Neurology and Neurosurgery, in London, England. He has been a

 University accredited teacher at the University of London where he is a recognized

 teacher in Behavioural Neurology.       He has actively taught post graduate students

 neurology, neuroanatomy, the role of brain anatomy and brain chemistry in regulating

 behavior as revealed through neurological and psychiatric diseases at the National

 Hospital and Institute for Neurology. Neuroimaging has played an important role in his

 teaching Unit, bringing the most modern neuroimaging techniques available to an

 understanding of psychopathology and brain behavior relationships.          Dr. Trimble’s

 professional emphasis has been evaluating the psychopharmacology of antiepileptic

 drugs effect on behavior and cerebral stimulation.

        Dr. Trimble is a member or Fellow of twelve medical Societies or Associations.

 He has been, or currently is, a member of fifteen Editorial Boards. Of particular note, Dr.

 Trimble was a member of the Harvard Review of Psychiatry and the Journal of Forensic

 Psychiatry.

        Dr. Trimble also is an international lecturer and advisor. He has spoken

 specifically about antiepileptic drugs’ effects on mood and behavior before his peers

 throughout Europe, North America and Asia. While Defendants tacitly concede that Dr.




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 Trimble is eminently qualified to render his opinion by choosing not to object to his

 qualifications, it is clear that due deference to Dr. Trimble’s opinion should be given

 considering the scope and breadth of his experience as a behavioral psychiatrist who has

 spent a career studying, writing and teaching about the behavioral effects of antiepileptic

 drugs on humans.




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